       Case 2:19-cv-01156-MWF-AS Document 57 Filed 11/06/19 Page 1 of 1 Page ID #:512
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   Central District of California, Western Division
DOCKET NO.                          DATE FILED
      2:19-cv-01156                           2/14/2019
PLAINTIFF                                                                             DEFENDANT
Paramount Pictures, et al.                                                            Omniverse One World Television Inc., et al




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                                                                TITLE OF WORK                                              AUTHOR OR WORK
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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
         10/23/2019                          G Amendment                 G Answer               G Cross Bill           G
                                                                                                                       ✔ Other Pleading
       COPYRIGHT
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    REGISTRATION NO.

1                                    see attached

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



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